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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF MARYLAND
                                         at Greenbelt

IN RE:

ZACHAIR, LTD.,                                                            Case No. 20-10691-LSS

           Debtor.                                                        (Chapter 11)


LAWRENCE A. KATZ, Plan Administrator,

           Plaintiff

v.                                                                        Adversary Proceeding 23-00014

NABIL J. ASTERBADI, et al.,

           Defendants.



                                MOTION FOR SUMMARY JUDGMENT
                             AS TO MAUREEN ASTERBADI ON COUNT II

           Defendant Maureen Asterbadi (“Mrs. Asterbadi”), through her undersigned counsel, and

pursuant to Federal Rule of Civil Procedure 56, respectfully moves this Court to enter a summary

judgment for Maureen Asterbadi on Count II. As set forth in the accompanying Memorandum of

Law and statement of undisputed facts, there is no genuine dispute as to any material fact, and all

claims against Mrs. Asterbadi fail as a matter of law.

           Accordingly, Mrs. Asterbadi is entitled to judgment as a matter of law on Count II and

this Court should grant her Motion. 1 A proposed Order is filed herewith.




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    Because Count II relates to the administration of the bankruptcy estate, this Motion is ripe for a final judgment by
    this Court. If, however, the Court finds that it is a non-core dispute, then Mrs. Asterbadi moves the Court for a
    report and recommendation dismissing Count II and reserves her rights related to this judgment.


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                                       Respectfully submitted,
Dated: November 3, 2023
                                       /s/ Patrick Potter
                                       Patrick Potter (D. Md. Bar No. 08445)
                                       Cynthia Cook Robertson (D. Md. Bar No. 18083)
                                       Meaghan Murphy (D. Md. Bar No. 20697)
                                       PILLSBURY WINTHROP SHAW PITTMAN LLP
                                       1200 Seventeenth Street NW
                                       Washington, DC 20036
                                       Telephone: 202-663-8000
                                       Fax: 202-663-8007
                                       patrick.potter@pillsburylaw.com
                                       cynthia.robertson@pillsburylaw.com

                                       Attorneys for Defendant Maureen Asterbadi




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of November 2023, the foregoing Motion for Summary

Judgment and the accompanying Memorandum of Law, Exhibits (if any), Declaration, and

proposed Order were served by electronic filing the following counsel of record through the

Court’s electronic filing system:

       Lawrence A. Katz
       Kristen E. Burgers
       Robert R. Vieth
       Mihir Elchuri
       HIRSCHLER FLEISCHER
       1676 International Drive, Suite 1350
       Tysons, Virginia 22102
       Telephone: (703) 584-8900
       Facsimile: (703) 584-8901
       Email: lkatz@hirschlerlaw.com
              kburgers@hirschlerlaw.com
              rvieth@hirschlerlaw.com
              melchuri@hirschlerlaw.com

       Steven L. Goldberg
       MCNAMEE HOSEA P.A.
       6411 Ivy Ln Suite 200
       Greenbelt, MD 20770
       Telephone: (301) 441-2420
       Email: sgoldberg@mhlawyers.com




                                                  /s/Patrick J. Potter
                                                  Patrick J. Potter




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